PROB 22                                                                                                DOCKET NUMBER (Tran. Court)
(Rev. 2/88)
                                                                                                        0650 3:16CR00199 - 7
                              TRANSFER OF JURISDICTION                                                  DOCKET NUMBER (Rec. Court)



NAME AND ADDRESS OF PROBATIONER/SUPERVISED RELEASEE:             DISTRICT                               DIVISION
                                                                 Middle District of Tennessee           Nashville

 Dustin Nelson                                                   NAME OF SENTENCING JUDGE

                                                                 The Honorable Hugh Lawson, Sr. U.S. District Judge
                                                                 DATES OF PROBATION/SUPERVISED         FROM             TO
                                                                 RELEASE:
                                                                                                        12/05/2017      12/04/2020

OFFENSE


 Conspiracy to Defraud the United States; 18:371; Class D Felony.

  PART i - ORDER TRANSFERRING JURISDICTION

  UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF TENNESSEE


           IT IS HEREBY ORDERED that pursuant to 18 U.S.C. 3605 the jurisdiction of the probationer or
 supervised releasee named above be transferred with the records of the Court to the United States District Court for
 the      Not       District of New York        upon that Court's order of acceptance of jurisdiction. This Court hereby
 expressly consents that the period of probation or supervised release may be changed_ by the District Court to which
 this transfer is made without further inquiry of this Court.*




         Date                                                                 U.S. District Judge


 *This sentence may be deleted in the discretion of the transferring Court.

 PART 2 - ORDER ACCEPTING JURISDICTION

 United States District Court for the NORTHERN DISTRICT OF NEW YORK



           IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised
   releasee be accepted and assumed by this Court from and after the entry of this order.




         Effective Date                                                        U.S. Distb-ictJudge




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                                                                                                     Assigned Officer Initials (JPP)
